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                                                  Mark M. Makhail                   McCarter & English, LLP
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   November 15, 2024

                                                               MEMO ENDORSED
   VIA ECF

   Hon. Katherine Polk Failla
   United States District Court for the Southern District of New York
   Thurgood Marshall
   United States Courthouse
   40 Foley Square
   New York, NY 10007

   Re: Competello v. Jersey Roots Dispensary LLC
       Civil Action No.: 24-7960

   Dear Judge Failla:

   This firm represents Defendant in the above referenced action. Plaintiff instituted
   this action on October 18, 2024. (ECF No. 1). Despite not being reflected on the
   Docket, Defendant was served with the Complaint on October 25, 2024. 1
   Accordingly, its deadline to answer or otherwise respond to the Complaint is today,
   November 15, 2024. Since being served, the Parties have actively been discussing
   an amicable resolution to this action without further judicial intervention.

   In light of the foregoing, Defendant respectfully requests a 60-day extension of its
   time to answer or otherwise respond to Plaintiff’s Complaint to allow the Parties to
   further explore potential resolution of this case. There have been no prior extensions
   of this deadline. Defendant has sought the consent of Plaintiff on several occasions
   before submitting this letter motion, but has not received a response.




   1
     For purposes of this letter, Defendant concedes this date merely for the purpose of
   calculating the deadline to answer or otherwise respond. Defendant expressly
   reserves the right to challenge the efficacy of service process at the appropriate time,
   if necessary.



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            We thank the Court for its consideration and remain available to answer any
            questions it may have.2

            Respectfully submitted,


            /s/ Mark M. Makhail
            Mark M. Makhail

            cc:     All Counsel of Record (via ECF)




The Court is in receipt of Defendant's above lettering requesting an
extension of its answer deadline. (Dkt. #5). The Court is also in
receipt of Plaintiff's letter, consenting to this request. (Dkt. #6).

In light of the parties' submissions, Defendant's deadline to answer,
move, or otherwise respond to the Complaint is hereby ADJOURNED nunc
pro tunc to January 14, 2025.

The Clerk of Court is directed to terminate the pending motion at
docket entry 5.

Dated:     November 18, 2024                      SO ORDERED.
           New York, New York




                                                  HON. KATHERINE POLK FAILLA
                                                  UNITED STATES DISTRICT JUDGE




            2
             This submission is made solely to seek an extension of time and is made without
            prejudice to, and with full reservation of, any and all defenses, waivable and
            unwaivable, Defendant may have.



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